                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 ARELI ESCOBAR CARBAJAL,                                )
                                                        )
                                    Petitioner,         )
                                                        )
 v.                                                     )         No. 1:22-cv-00102-LY
                                                        )
 BOBBY LUMPKIN, Director                                )         *DEATH PENALTY CASE*
 Texas Department of Criminal Justice,                  )
 Correctional Institutions Division,                    )
                                                        )
                                  Respondent.           )

REPLY TO THE DIRECTOR’S RESPONSE IN OPPOSITION TO MOTION TO STAY
                          PROCEEDINGS

       On March 14, 2022, Applicant Areli Escobar, through undersigned counsel, filed a Motion

to Stay Proceedings. On March 28, 2022, the Director filed Respondent’s Response in Opposition

to Motion to Stay Proceedings (“Resp. in Opp.”). Mr. Escobar replies to the Director’s Response

as follows:

                                          ARGUMENT

       The Director argues that this Court does not have the discretion to grant a stay. The Director

argues in the alternative that, even if the Court could consider Mr. Escobar’s arguments, the motion

should still be denied because the Texas Court of Criminal Appeals (“CCA”) denied the State’s

Suggestion for Reconsideration and because Mr. Escobar’s assertion that this Court should grant

a stay while the Supreme Court considers a forthcoming petition for a writ of certiorari is without

merit. Mr. Escobar seeks to stay these proceedings in the interests of judicial economy and to avoid

inefficient, duplicative litigation where final disposition has not yet been reached in a state court

collateral action that could render this federal action moot. Contrary to the Director’s arguments,

this Court has the authority to stay Mr. Escobar’s habeas proceedings and should do so.
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I.      Mr. Escobar’s Request for a Stay is Not Moot Because the Suggestion for
        Reconsideration Is Still Pending in the CCA

        The Director asserts that the CCA has denied the State’s Suggestion for Reconsideration

cited in Mr. Escobar’s Motion to Stay Proceedings. The Director is confusing the CCA’s denial of

a pro se Motion for Reconsideration filed by Mr. Escobar for a ruling on the State’s Suggestion.

However, the State’s Suggestion, which forms just one of the bases for Mr. Escobar’s request for

a stay, is still pending

        On February 9, 2022, the CCA received Mr. Escobar’s Pro Se Motion to Reconsider the

Court of Criminal Appeals’ Ruling and to Accept the District Court’s Recommendation. On March

11, 2022, the State of Texas filed a Suggestion for Reconsideration in the CCA conceding that Mr.

Escobar is entitled to habeas relief because, inter alia, the judgment convicting him was obtained

in violation of due process. The State requested that the CCA order further briefing from the parties

in order for the State to provide the CCA with its “analysis of the facts, the law, and the failures in

the forensic science that supported [Mr. Escobar’s] conviction.” State’s Suggestion for

Reconsideration on the Court’s Own Initiative at 6, Ex parte Escobar, No. WR-81,574-02 (Tex.

Crim. App. Mar. 11, 2022). On March 15, 2022, the CCA issued a postcard denial of Mr. Escobar’s

pro se motion. Official Notice from Court of Criminal Appeals of Texas, Ex parte Escobar, No.

WR-81,574-02 (Tex. Crim. App. Mar. 15, 2022) (“On this day, this Court has denied applicant’s

motion for reconsideration/rehearing.”) (emphasis added) (Appendix A). At the time of filing this

reply, the CCA’s docket reflects that the court has not yet ruled on the State’s Suggestion for

Reconsideration.

        Because the State’s Suggestion is still under consideration, that basis for Mr. Escobar’s

request to stay the proceeding is not moot.


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II.     A Stay Should Be Granted While Mr. Escobar Prepares and Files a Petition for a
        Writ of Certiorari in the United States Supreme Court

        The Director argues that Mr. Escobar’s case does not present the type of “rarity” that would

merit a stay while a petition for a writ of certiorari is pending in the United States Supreme Court.

The Director calls a stay “particularly troubling” because it would “warrant a stay of proceedings

in every federal habeas case, as long as a party filed a petition for certiorari challenging their state

habeas denial.” Resp. in Opp. at 4. In fact, the circumstances of Mr. Escobar’s case are exceedingly

rare for two reasons. First, the State has conceded in an ongoing state collateral proceeding that

Mr. Escobar is entitled to relief and agrees that Mr. Escobar’s confinement is unlawful due to a

due process violation—a circumstance that makes both reconsideration by the state court and, if

denied, certiorari review by the Supreme Court, much more likely than in other cases. See State’s

Suggestion for Reconsideration on the Court’s Own Initiative at 4, Ex parte Escobar, No. WR-

81,574-02 (Tex. Crim. App. March 11, 2022) (“[Mr. Escobar’s] due process rights under the laws

and Constitution of Texas and under the Constitution of the United States have been violated.”);

id. at 2.

        Second, the state court collateral judgment for which Mr. Escobar intends to seek certiorari

review was rendered on his second state court habeas application that was filed shortly before the

expiration of the federal statute of limitations, placing his federal case in a markedly different

posture from other federal habeas applications brought by capitally sentenced Texas prisoners. In

Texas, certiorari review of a state court judgment disposing of an initial state habeas corpus

application by a capitally-sentenced prisoner ordinarily concludes well before the statute of

limitations expires for filing a habeas corpus application in federal court. This is because Texas

has a dual-track system for appellate and collateral review in which a state habeas corpus

application is filed before the finality of the underlying judgment on direct review. This

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circumstance means that the federal limitations period is tolled immediately upon finality due to

the pendency of the state habeas corpus application, and thus capitally-sentenced prisoners

typically have the full one-year limitations period remaining in which to file an application in

federal court. Certiorari review of the disposition of an initial state habeas corpus application is

therefore almost always complete before a federal habeas application is ever filed.

       After Mr. Escobar’s initial state habeas corpus application was denied, Mr. Escobar

discovered new information that his conviction had been obtained in violation of due process and

state law. Because claims related to these discoveries had not been presented in his initial state

habeas corpus application, and because a state court remedy for them still existed, Mr. Escobar

prepared and filed a subsequent state habeas corpus application. As explained in his Motion, Mr.

Escobar filed that second application shortly before the expiration of the statute of limitations

applicable to filing a habeas corpus application in federal court. 1 See generally 28 U.S.C. §

2244(d).

       Whereas certiorari review of the CCA’s merits adjudication of a capitally sentenced Texas

prisoner’s state habeas corpus application has typically long concluded before a federal habeas

corpus application is even filed, Mr. Escobar was required to file a protective habeas corpus

application before he was able to obtain review of the state court’s merits adjudication of his

second state habeas application from the Supreme Court. This has created a rare overlap of federal

and state proceedings in a Texas capital case. These two circumstances—the State’s concession



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          The second state court habeas application was properly filed under state law. The CCA
authorized five allegations, concluding, inter alia, that Mr. Escobar had made a threshold showing
that, but for a violation of the United States Constitution, no rational juror could have found him
guilty beyond a reasonable doubt. See Order at 3, Ex parte Escobar, No. WR-81,574-02 (Tex.
Crim. App. Oct. 18, 2017) (finding Mr. Escobar met, inter alia, the standard for obtaining
consideration of a subsequent habeas corpus application contained in Texas Code of Criminal
Procedure article 11.071 § 5(a)(2)).
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that the judgment was obtained in violation of the United States constitution and the overlapping

of state and federal proceedings—are seldom present and may never have been present in

combination. Altogether, Mr. Escobar’s case presents the rare case where the concern for

unnecessary and duplicative work is present, and his argument for a stay in these circumstances

has merit.

III.   This Court Has the Authority to Stay Mr. Escobar’s Case During the Pendency of the
       State’s Motion for Reconsideration

       Mr. Escobar’s Motion also asks this Court to grant a stay to ensure that the CCA will

exercise jurisdiction over the State’s Suggestion for Reconsideration, which is currently pending

in that court. The Director argues that this Court does not have the discretion to stay Mr. Escobar’s

case absent a request to exhaust a claim in state court or initiate state court proceedings. Resp. in

Opp. at 3. The Director is wrong; this Court has the authority to stay these proceedings and should

do so to prevent the application of the abstention doctrine, under which Texas courts will not

consider state habeas corpus applications when an applicant also has a habeas corpus application

pending in federal court concerning the same matter. See Ex parte Soffar, 143 S.W.3d 804, 805

(Tex. Crim. App. 2004).

       Preliminarily, the Director is operating under the misapprehension that a federal court’s

power or discretion to stay its proceedings is limited to exhaustion of state remedies under the

Rhines stay-and-abeyance doctrine. 2 The Supreme Court has expressly acknowledged that “[a]

District Court has broad discretion to stay proceedings as an incident to its power to control its

own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). See also Landis v. N. Am. Co., 299 U.S.

248, 254 (1936) (“[T]he power to stay proceedings is incidental to the power inherent in every




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           Rhines v. Weber, 544 U.S. 269 (2005).
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court to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.”).

        Consistent with this, the Supreme Court recognized in Rhines that “[d]istrict courts do

ordinarily have authority to issue stays . . . where such a stay would be a proper exercise of

discretion. . . . AEDPA does not deprive district courts of that authority.” 544 U.S. at 276. In light

of the broad power federal district courts possess to stay proceedings, it is therefore unsurprising

that the Supreme Court also expressly recognized the propriety of granting a stay while a prisoner

pursues certiorari review from a state court collateral judgment in Lawrence v. Florida, 549 U.S.

327 (2007), in order to avoid duplicative judicial work. See id. at 335 (district court concerned

about duplicative work can stay habeas application until Supreme Court resolves case).

        Nevertheless, exhaustion of state remedies is implicated with respect to the State’s

Suggestion for Reconsideration filed in the CCA. The State of Texas, through its legally authorized

state court representative—the Travis County District Attorney—has invoked a state court remedy

related to questions presented in Mr. Escobar’s federal habeas application. While reconsideration

may not be necessary to exhaustion, the Fifth Circuit has recognized that pursuing relief from

Texas state courts via suggestions for reconsideration should not be discouraged. 3 Emerson v.

Johnson, 243 F.3d 931, 935 (5th Cir. 2001). A stay is therefore necessary both to let the state court

proceeding run its full course and, as Mr. Escobar explained in his Motion, to ensure the state court

considers itself jurisdictionally empowered to entertain the State’s Suggestion.

        Moreover, it is the State of Texas itself that is seeking to invoke the Texas court’s

jurisdiction and is requesting that further proceedings occur there. The position the Director has



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          Mr. Escobar could have simply waited until the state court finally disposed of any
suggestions for reconsideration, but he filed his federal habeas application in an abundance of
caution in order to ensure that the federal limitations period would not expire in the meantime.
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taken in this Court is clearly incompatible with positions the State of Texas has taken through its

legally authorized representative in state court. Because the State of Texas is the true party in

interest in this Court, the Director should not be heard to complain about delay or otherwise take

a position that may thwart the state court from granting the very relief the State itself is requesting

from that court. Both comity and equity overwhelmingly support granting a stay in these

circumstances.

       Stays have been granted in similar circumstances. As discussed in Mr. Escobar’s stay

motion, in Ex parte Hunter, the CCA exercised its authority to reconsider a prior denial of a habeas

corpus application, noting that the federal district court in which a habeas application was also

pending had stayed its proceeding. Ex Parte Hunter, No. WR-69,291-01, 2016 WL 4793152, at

*1 (Tex. Crim. App. Mar. 9, 2016) (not designated for publication). The CCA’s grant of relief after

reconsideration obviated the need for any additional federal proceedings. See Order, Hunter v.

Stephens, No. 10-cv-00778 (S.D. Tex. March 11, 2016) (“State habeas proceedings have

concluded. The case is reopened and reinstated to the active docket. But because Hunter is no

longer in custody under a death sentence, his federal petition for a writ of habeas corpus is

dismissed as moot.”).

       Likewise, in Lizcano v. Davis, the federal district court stayed its proceedings to permit the

applicant to file a suggestion for reconsideration related to an already-adjudicated claim that he

was ineligible for execution because he was intellectually disabled. The Director had argued that

a stay was unnecessary “because [the applicant] has fully exhausted his Atkins claim.” Lizcano v.

Davis, No. 3:16-CV-1008-B-BN, 2017 WL 9471836, at *2 (N.D. Tex. Sept. 21, 2017), report and

recommendation adopted, No. 3:16-CV-1008-B, 2017 WL 4456706 (N.D. Tex. Oct. 6, 2017). The

federal district court granted the stay, and the CCA reconsidered the application and ultimately


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granted relief on the claim. See Order, Ex parte Lizcano, No. WR-68,348-03 (Tex. Crim. App.

Sept. 16, 2020) (granting relief); Order, Ex parte Lizcano, No. WR-68,348-03 (Tex. Crim. App.

Jun. 6, 2018) (granting reconsideration).

       For these reasons, this Court has the discretion to stay the proceedings and should do so

pending the CCA’s consideration of the Suggestion for Reconsideration filed by the State and any

further state court proceedings in response to it.

                                              CONCLUSION

       For the foregoing reasons, Mr. Escobar maintains his request for a stay and ask that this

Court enter an order: (1) suspending the current scheduling order; (2) staying the federal habeas

proceeding until the conclusion of the state habeas corpus proceeding, including by disposition of

a petition for a writ of certiorari; and (3) directing the applicant to notify this Court regarding the

resolution of those proceedings within 30 days of disposition and submit a proposed scheduling

order for resuming the federal proceeding.

                                                               Respectfully submitted,

                                                                 /s/Estelle Hebron-Jones

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                              CERTIFICATE OF SERVICE
       I certify that on March 31, 2022, I electronically filed the foregoing motion using the
CM/ECF system, which included a Notice of Electronic filing upon counsel for the Director, Ali
Nasser, at ali.nasser@oag.texas.gov.
                                                                 /s/Estelle Hebron-Jones
                                                                 Estelle Hebron-Jones




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